76 F.3d 374
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Dwayne T. MAYERS, Petitioner-Appellant,v.Sewall SMITH, Warden;  J. Joseph Curran, Jr., AttorneyGeneral for the State of Maryland, Respondents-Appellees.
    No. 94-7458.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  January 23, 1996.Decided:  February 8, 1996.
    
      Dwayne T. Mayers, Appellant Pro Se.  John Joseph Curran, Jr., Attorney General, Ann Norman Bosse, Office of the Attorney General of Maryland, Baltimore, MD, for Appellees.
      Before MURNAGHAN, HAMILTON, and MOTZ, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. § 2254 (1988) petition.   We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.   Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.   Mayers v. Smith, No. CA-94-1361-MJG (D.Md. Nov. 23, 1994).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    